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15   COMPANY
16
                                   UNITED STATES DISTRICT COURT
17                                NORTHERN DISTRICT OF CALIFORNIA
                                      SAN FRANCISCO DIVISION
18

19
     UNITED STATES OF AMERICA,                           Case No. 14-CR-00175-WHA
20
                                  Plaintiff,             PG&E’S 28-DAY REPORT FOR
21                                                       OCTOBER 15-16, 2021 PSPS EVENT
22          v.                                           Judge: Hon. William Alsup
23
     PACIFIC GAS AND ELECTRIC COMPANY,
24
                                  Defendant.
25

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                        PG&E’S 28-DAY REPORT FOR OCTOBER 15-16, 2021 PSPS EVENT
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 1                  Defendant Pacific Gas and Electric Company (“PG&E”) respectfully submits this 28-

 2   day report for the October 15-16, 2021 Public Safety Power Shutoff (“PSPS”) event (the “PSPS

 3   Event”) pursuant to the Court’s April 29, 2021 order. (Dkt. 1386.)

 4                  The information provided in this report is based on PG&E records reviewed as of the

 5   date of this filing. The information is preliminary and subject to change and further validation.

 6                  1. How many circuits were turned off in the PSPS.

 7                  PG&E pre-emptively de-energized 6 distribution circuits as part of the PSPS Event. 1
 8                  2. How many of such circuits had limbs and/or trees blown or fallen
                    onto the lines (as determined in the post-storm inspection).
 9
                    As part of PG&E’s post-event patrols prior to re-energizing distribution circuits,
10
     PG&E identifies damage to PG&E’s assets that require repair or replacement and classifies those
11
     conditions as an instance of “damage”. PG&E’s records reflect that, during the post-event patrols of
12
     the 6 de-energized distribution circuits, conducted following the PSPS Event, such patrols identified
13
     one instance of damage attributable to vegetation. 2
14
                    PG&E’s post-event patrols also identify conditions that, in the judgment of the
15
     personnel conducting the patrol, might have posed an electrical arcing risk or a risk of ignition had
16
     the circuit been energized, even though there was no damage to PG&E equipment necessitating
17
     repair, and classifies those conditions as “hazards”. PG&E’s records reflect that, during the post-
18

19

20

21
         1
22          Because PG&E understands the scope of the Court’s April 29, 2021 order to be focused on
     distribution circuits, the information in this report relates only to distribution circuits. PG&E notes
23   that there were no transmission circuits de-energized related to the October 15-16, 2021 PSPS event.
     Of the transmission circuits in an HFTD which were not pre-emptively de-energized as part of the
24
     PSPS Event, PG&E’s records reflect that no outages and no ignitions attributable to vegetation
25   occurred between the start of the PSPS event of 0200 PDT on October 15 and the final weather “all
     clear” of 1514 PDT on October 16.
26       2
          PG&E’s records reflect that the post-event patrols did not identify any instances of non-
27   vegetation-related damage.
28

                                                      2
                         PG&E’S 28-DAY REPORT FOR OCTOBER 15-16, 2021 PSPS EVENT
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 1   event patrols of the 6 de-energized distribution circuits, conducted following the PSPS Event, such

 2   patrols identified zero instances of hazards that were attributable to vegetation. 3

 3                  3. How many of such strikes would, in the judgment of PG&E, have
                    started a fire (regardless of size) had the circuit been energized at the
 4                  time of the strike.
 5                  While PG&E is unable to determine whether any of the conditions identified in
 6   response to Question 2 would have started a fire, based on PG&E’s post-event reporting patrols,
 7   PG&E is aware of one vegetation strike that may have posed an electrical arcing risk or a risk of
 8   ignition had PG&E not de-energized the circuit as part of the PSPS event.
 9                  4. How many circuits left energized had limbs and/or trees blown or
10                  fallen onto the lines by the storm without causing a fire.

11                  Of the circuits in an HFTD which were not pre-emptively de-energized as part of the

12   PSPS Event, PG&E’s ordinary course records reflect zero sustained outages attributable to

13   vegetation on distribution circuits during the time period between the start of the PSPS event of 0200

14   PDT on October 15 and the final weather “all clear” of 1514 PDT on October 16 that were not

15   associated with an ignition. 4

16                  5. How many circuits left energized with strikes that in fact resulted in
                    fires (regardless of size).
17
                    Of the circuits in an HFTD which were not pre-emptively de-energized as part of the
18
     PSPS Event because they were not forecast to meet PG&E’s PSPS criteria, PG&E’s ordinary course
19
     records reflect that no ignitions were attributable to vegetation making contact with an energized
20
     distribution circuit during the time period between the start of the PSPS event of 0200 PDT on
21
     October 15 and the final weather “all clear” of 1514 PDT on October 16.
22

23
         3
          PG&E’s records reflect that the post-event patrols did not identify any non-vegetation-related
24
     hazards.
25       4
           PG&E’s response here does not include outages occurring below the distribution level, i.e., on
26   secondary lines or service drops which service as few as one customer. PG&E does not in the usual
     course identify whether each such outage is attributable to vegetation, as opposed to contact with
27   other foreign objects.
28

                                                      3
                         PG&E’S 28-DAY REPORT FOR OCTOBER 15-16, 2021 PSPS EVENT
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 1                  The above five categories should each be further broken down by
                    those circuits that were in substantial compliance with section 4293 as
 2                  well as PG&E’s Wildfire Mitigation Plan.
 3                  To maintain compliance with Section 4293 and other regulatory requirements, all of
 4   PG&E’s distribution circuits in HFTDs are scheduled for routine vegetation management and
 5   CEMA patrols (and, as necessary, post-fire restoration patrols). Those patrols generate orders or tags
 6   for work that are then worked according to their prescribed timelines, which depend on the priority
 7   of tree work identified by the inspector. In Appendix A, PG&E provides the information responsive
 8   to Questions 1-5 on a circuit-by-circuit basis, and for each listed circuit, includes the number of
 9   vegetation management tags that PG&E’s records indicate had been created prior to October 15,
10   2021 as part of PG&E’s routine vegetation management program, CEMA program or post-fire
11   restoration program, and not marked as complete by October 15, 2021. 5
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25       5
           Vegetation work that was outstanding at this time related to other programs, such as EVM,
26   system hardening and reliability patrols, have been excluded from Appendices A and B. Vegetation
     work called for by those programs is either not aimed at section 4293 compliance or goes beyond
27   what is required for section 4293 compliance.
28

                                                      4
                         PG&E’S 28-DAY REPORT FOR OCTOBER 15-16, 2021 PSPS EVENT
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 1   Dated: November 12, 2021                          Respectfully Submitted,

 2                                                     JENNER & BLOCK LLP
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                                                       CRAVATH, SWAINE & MOORE LLP
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                                                    By:    /s/ Kevin J. Orsini
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13                                                  Attorneys for Defendant PACIFIC GAS AND
                                                    ELECTRIC COMPANY
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                     PG&E’S 28-DAY REPORT FOR OCTOBER 15-16, 2021 PSPS EVENT
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 1                                                   Appendix A 6

 2              Distribution Circuits De-Energized as Part of the October 15-16, 2021 PSPS Event

 3                                               Number of Vegetation-Related
                                                                                      Number of Outstanding
                                                                                        Vegetation Tags
 4                                                               Damages
                                      Circuit                      and
 5    Circuit
                                      Miles 7                    Hazards Priority Priority
                                                 Damages Hazards                                        Other 10
                                                                   with     18       29
 6                                                               Ignition
                                                                 Potential
 7    CAL WATER 1102                    33           -          -            -        -         -           -
 8    LAMONT 1104                       62           -          -            -        -         -           -
      MAGUNDEN 1108                     53           -          -            -        -         -           -
 9    SCE TEHACHAPI 1101                 3           -          -            -        -         -           -
      TEJON 1102                        98           1          -            1        -         -         388
10    TEJON 1103                        43           -          -            -        -         -          30
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         6
             Please refer to the body of this filing for an explanation of the values included herein.
20
         7
             The circuit miles are the total miles for the circuit listed.
21
         8
          Priority 1 tags are used to identify vegetation that is (1) in contact or showing signs of previous
22   contact with a primary conductor; (2) actively failing or at immediate risk of failing and could strike
     PG&E’s facilities; or (3) presenting an immediate risk to PG&E’s facilities.
23
         9
           Priority 2 tags are used to identify vegetation that (1) has encroached within the PG&E
24
     minimum clearance requirements and is not in contact with a conductor or (2) has an identifiable
25   integrity issue that does not rise to the level of a Priority 1 condition but is likely to strike facilities
     and may manifest into a risk before the next scheduled inspection.
26       10
          “Other” includes non-priority tags created as a part of PG&E’s routine vegetation
27   management program, CEMA program or post-fire restoration program.
28

                                                        6
                           PG&E’S 28-DAY REPORT FOR OCTOBER 15-16, 2021 PSPS EVENT
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